                         Case 18-12734-mkn                 Doc 1        Entered 05/10/18 14:04:13                   Page 1 of 23


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                SCHULTE PROPERTIES LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  9811 W. CHARLESTON BLVD STE 2-351
                                  LAS VEGAS, NV 89117
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  CLARK                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                          Case 18-12734-mkn                      Doc 1       Entered 05/10/18 14:04:13                       Page 2 of 23
Debtor    SCHULTE PROPERTIES LLC                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District   District of Nevada            When       5/31/17                    Case number   17-12883
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                        Case 18-12734-mkn                    Doc 1         Entered 05/10/18 14:04:13                    Page 3 of 23
Debtor   SCHULTE PROPERTIES LLC                                                                    Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                         Case 18-12734-mkn                  Doc 1        Entered 05/10/18 14:04:13                       Page 4 of 23
Debtor    SCHULTE PROPERTIES LLC                                                                   Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 10, 2018
                                                  MM / DD / YYYY


                             X   /s/ MELANI SCHULTE                                                       MELANI SCHULTE
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   MANAGING MEMBER




18. Signature of attorney    X   /s/ Matthew L. Johnson                                                    Date May 10, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Matthew L. Johnson 6004
                                 Printed name

                                 JOHNSON & GUBLER, P.C.
                                 Firm name

                                 LAKES BUSINESS PARK
                                 8831 W SAHARA AVE
                                 LAS VEGAS, NV 89117-5865
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (702) 471-0065                Email address      mjohnson@mjohnsonlaw.com

                                 6004 NV
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                               Case 18-12734-mkn                      Doc 1        Entered 05/10/18 14:04:13                           Page 5 of 23


 Fill in this information to identify the case:
 Debtor name SCHULTE PROPERTIES LLC
 United States Bankruptcy Court for the: DISTRICT OF NEVADA                                                                                           Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Adam's Pool                                                     pool services                                                                                                $850.00
 Solutions
 4451 N. Walnut
 Road
 NORTH LAS
 VEGAS, NV 89081
 AMBERLEA DAVIS,                                                 attorney fees                                                                                          $120,000.00
 ESQ
 415 S 6TH STREET
 STE 300
 LAS VEGAS, NV
 89101
 CITY NATIONAL                                                   5218 Misty         Contingent                   $1,000,000.00                $321,108.00               $831,892.00
 BANK                                                            Morning Dr, Las    Disputed
 PO BOX 60938                                                    Vegas, NV 89118
 LOS ANGELES, CA                                                 [Value is based on
 90060-0938                                                      Zillow.com
                                                                 estimate]
 CITY NATIONAL                                                                      Contingent                                                                          $500,000.00
 BANK                                                                               Disputed
 C/O FENNEMORE
 CRAIG
 300 S FOURTH
 STREET STE 1400
 LAS VEGAS, NV
 89101
 Cornelio Martin                                                 roofing services                                                                                           $2,000.00
 716 N. 17th Street                                              for Feather River
 LAS VEGAS, NV                                                   property
 89101
 COUNTRYWIDE /                                                   509 Canyon         Contingent                      $839,500.00            $2,085,740.00                $114,525.00
 BANK OF AMERICA                                                 Greens Dr, Las     Disputed
 PO BOX 942019                                                   Vegas, NV 89144
 SIMI VALLEY, CA                                                 [Value is based on
 93094                                                           Zillow.com
                                                                 estimate]




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                               Case 18-12734-mkn                      Doc 1        Entered 05/10/18 14:04:13                           Page 6 of 23



 Debtor    SCHULTE PROPERTIES LLC                                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 DAVID PIERCE                                                    LOAN                                                                                                     $90,000.00
 9811 W
 CHARLESTON
 BLVD STE 2-279
 LAS VEGAS, NV
 89117
 DAVID SNELL                                                     professional fees                                                                                        $10,000.00
 DAVIS
 415 S. 6th Street,
 Suite 300
 LAS VEGAS, NV
 89101
 IMAGE FINANCE,                                                  real property          Contingent               $1,750,000.00             $2,635,032.00                $611,049.00
 LLC                                                             located on             Disputed
 4751 WILSHIRE                                                   Avenida Cortes,
 BOULEVARD STE                                                   Feather River,
 203                                                             Golden Hawk,
 LOS ANGELES, CA                                                 Lambert,
 90010                                                           Marathon,
                                                                 Neopolitan,
                                                                 Peaceful Canyon,
                                                                 Sierra Summit,
                                                                 Surrey Meadows
 KUNIN & CARMAN                                                  possible               Contingent                                                                          $6,767.95
 3551 E BONANZA                                                  lien/claim against     Disputed
 RD #110                                                         properties held by
 LAS VEGAS, NV                                                   Debtor that were
 89110                                                           previously held by
                                                                 William R. Schulte
 LUCY INNUSO                                                     Pool services                                                                                                $900.00
 7413 LATTIMORE
 DR
 LAS VEGAS, NV
 89110
 PALM GARDENS                                                    [NOTICE ONLY]          Contingent                                                                          $1,500.00
 C/O ASSOCIA                                                                            Disputed
 NEVADA SOUTH
 PO BOX 60998
 PHOENIX, AZ
 85082-0998
 PEBBLE CREEK                                                    [NOTICE ONLY]          Contingent                                                                          $1,500.00
 HOA                                                                                    Disputed
 C/O COLONIAL
 PROPERTY
 MANAGEMENT
 PO BOX 63275
 850823275




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                               Case 18-12734-mkn                     Doc 1         Entered 05/10/18 14:04:13                           Page 7 of 23



 Debtor    SCHULTE PROPERTIES LLC                                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 RANCHO ALTA                                                     [NOTICE ONLY]          Contingent                                                                            $800.00
 MIRA                                                                                   Disputed
 C/O TERRA WEST
 PROP MGMT
 PO BOX 80900
 LAS VEGAS, NV
 89180-0900
 RANCHO LAS                                                      [NOTICE ONLY]          Contingent                                                                          $2,000.00
 BRISAS HOA                                                                             Disputed
 9440 W SAHARA
 AVE, STE 237
 LAS VEGAS, NV
 89117
 RIDGEMONT                                                       [NOTICE ONLY]          Contingent                                                                          $5,000.00
 TOWNHOMES                                                                              Disputed
 ASSOCIATION
 5601 RIDGETREE
 AVE
 LAS VEGAS, NV
 89107
 SAGECREEK HOA                                                   [NOTICE ONLY]          Contingent                                                                            $880.00
 C/O CAMCO                                                                              Disputed
 PO BOX 12117
 LAS VEGAS, NV
 89112
 SAN MARINO                                                      [NOTICE ONLY]          Contingent                                                                          $3,400.00
 C/O FIRST SERVICE                                                                      Disputed
 RESIDENTIAL
 PO BOX 54089
 LOS ANGELES, CA
 90054-0089
 SILVERADO RANCH                                                 [NOTICE ONLY]          Contingent                                                                            $200.00
 LMA                                                                                    Disputed
 C/O FIRST SERVICE
 RESIDENTIAL
 PO BOX 54089
 LOS ANGELES, CA
 90054-0890
 WEST SAHARA                                                     [NOTICE ONLY]          Contingent                                                                          $3,000.00
 COMMUNITY                                                                              Disputed
 C/O FIRST SERVICE
 RESIDENTIAL
 PO BOX 54089
 LOS ANGELES, CA
 90054-0089




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
    Case 18-12734-mkn   Doc 1   Entered 05/10/18 14:04:13   Page 8 of 23



}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                 SCHULTE PROPERTIES LLC
                 9811 W. CHARLESTON BLVD STE 2-351
                 LAS VEGAS, NV 89117

                 Matthew L. Johnson
                 JOHNSON & GUBLER, P.C.
                 LAKES BUSINESS PARK
                 8831 W SAHARA AVE
                 LAS VEGAS, NV 89117-5865

                 Adam's Pool Solutions
                 4451 N. Walnut Road
                 NORTH LAS VEGAS, NV 89081

                 AMBERLEA DAVIS, ESQ
                 415 S 6TH STREET STE 300
                 LAS VEGAS, NV 89101

                 AMERICA'S SERVICING COMPANY
                 PO BOX 981
                 FREDERICK, MD 21705-0981

                 AMERICAN WEST VILLAGE
                 C/O FIRST SERVICE RESIDENTIAL
                 PO BOX 54089
                 LOS ANGELES, CA 90054-0089

                 Andrew Schanda & Taylor Sinnott
                 9521 Sierra Summit Avenue
                 LAS VEGAS, NV 89134

                 Anthony Hunt & Akila Zamba-Martin
                 2525 Via Di Autostrada
                 HENDERSON, NV 89074

                 BANK OF AMERICA
                 PO BOX 21848
                 GREENSBORO, NC 27420-1848

                 BANK OF NEVADA
                 PO BOX 26237
                 LAS VEGAS, NV 89126-0237

                 BANK OF NEW YORK
                 Acct No xxxxxx0145
                 225 LIBERTY ST
                 NEW YORK, NY 10286

                 BANK OF NEW YORK
                 Acct No xxxxxx4912
                 225 LIBERTY ST
                 NEW YORK, NY 10286
Case 18-12734-mkn   Doc 1   Entered 05/10/18 14:04:13   Page 9 of 23




             BANK OF NEW YORK
             Acct No xxxxxx6861
             225 LIBERTY ST
             NEW YORK, NY 10286

             BANK OF NEW YORK
             Acct No xxxxxx4913
             225 LIBERTY ST
             NEW YORK, NY 10286

             BANK OF NEW YORK
             Acct No xxxxxx6860
             225 LIBERTY ST
             NEW YORK, NY 10286

             BANK OF NEW YORK
             Acct No xxxxxx5845
             225 LIBERTY ST
             NEW YORK, NY 10286

             BANK OF NEW YORK
             Acct No xxxxxx4304
             225 LIBERTY ST
             NEW YORK, NY 10286

             BANK OF NY MELLON
             Acct No Schulte
             2200 PASEO VERDE PKWY STE 200
             HENDERSON, NV 89052-2703

             BAYVIEW LOAN SERVICING
             Acct No xxxxxx1979
             4425 PONCE DE LEON BLVD
             MIAMI, FL 33146

             BAYVIEW LOAN SERVICING
             Acct No xxxxxx1769
             4425 PONCE DE LEON BLVD
             MIAMI, FL 33146

             BAYVIEW LOAN SERVICING
             Acct No xxxxxx4912
             4425 PONCE DE LEON BLVD
             MIAMI, FL 33146

             BAYVIEW LOAN SERVICING
             Acct No xxxxxx4913
             4425 PONCE DE LEON BLVD
             MIAMI, FL 33146

             BAYVIEW LOAN SERVICING
             Acct No xxxxxx2065
             4425 PONCE DE LEON BLVD
             MIAMI, FL 33146
Case 18-12734-mkn   Doc 1   Entered 05/10/18 14:04:13   Page 10 of 23




              BAYVIEW LOAN SERVICING
              Acct No xxxxxx4304
              4425 PONCE DE LEON BLVD
              MIAMI, FL 33146

              Billy Obedoza & Kami Conselva
              5218 Misty Morning Drive
              LAS VEGAS, NV 89118

              BLUFFS COMMUNITY ASSOCIATION HOA
              C/O COLONIAL PROPERTY MANAGEMENT
              PO BOX 63275
              PHOENIX, AZ 85082-3275

              BSI
              Acct No xxxxxx8391
              PO BOX 517
              314 S FRANKLIN ST
              TITUSVILLE, PA 16354

              CALIBER HOME LOANS
              13801 WIRELESS WAY
              OKLAHOMA CITY, OK 73134

              CANYON FAIRWAYS HOA
              PO BOX 93177
              LAS VEGAS, NV 89193-3177

              CHASE
              Acct No xxxxxx7609
              3415 VISION DRIVE
              COLUMBUS, OH 43219-6009

              CHASE HOME FINANCE / WAMU
              7255 BAYMEADOWS WAY
              JACKSONVILLE, FL 32256

              Chris & Mary Wirta
              2460 Avenida Cortes
              HENDERSON, NV 89074

              CITIMORTGAGE
              Acct No xxxxxxx8517
              PO BOX 6728
              SIOUX FALLS, SD 57117-6728

              CITY NATIONAL BANK
              Acct No A556882
              C/O FENNEMORE CRAIG
              300 S FOURTH STREET STE 1400
              LAS VEGAS, NV 89101
Case 18-12734-mkn   Doc 1   Entered 05/10/18 14:04:13   Page 11 of 23




              CITY NATIONAL BANK
              Acct No xxx4409
              PO BOX 6728
              SIOUX FALLS, SD 57117-6728

              CITY NATIONAL BANK
              Acct No xxx4409
              PO BOX 60938
              LOS ANGELES, CA 90060-0938

              CLARK COUNTY ASSESSOR
              C/O BANKRUPTCY CLERK
              500 S GRAND CENTRAL PKWY
              BOX 551401
              LAS VEGAS, NV 89155-1401

              CLARK COUNTY TREASURER
              C/O BANKRUPTCY CLERK
              500 S GRAND CENTRAL PKWY
              PO BOX 551220
              LAS VEGAS, NV 89155-1220

              Clint Fisher
              956 Ostrich Fern Court
              LAS VEGAS, NV 89123

              COPPER RIDGE
              C/O COLONIAL PROPERTY MANAGEMENT
              PO BOX 63275
              PHOENIX, AZ 85082-3275

              Cornelio Martin
              716 N. 17th Street
              LAS VEGAS, NV 89101

              COUNTRYWIDE
              PO BOX 5170
              SIMI VALLEY, CA 93062-5170

              COUNTRYWIDE / BANK OF AMERICA
              Acct No xxxxx5785
              PO BOX 942019
              SIMI VALLEY, CA 93094

              COUNTRYWIDE HOME LOANS / BAC
              PO BOX 10219
              VAN NUYS, CA 91410

              CREEKSIDE HOA
              C/O FIRST SERIVCE RESIDENTIAL
              PO BOX 54089
              LOS ANGELES, CA 90054
Case 18-12734-mkn   Doc 1   Entered 05/10/18 14:04:13   Page 12 of 23




              Dagger Properties 1-6, LLC
              c/o Gary Horns
              4382 Carta Luna Street
              LAS VEGAS, NV 89135

              Darlene Seltmann & Logan Kiplinger
              2614 Sweet Leilani Avenue
              NORTH LAS VEGAS, NV 89031

              DAVID PIERCE
              9811 W CHARLESTON BLVD STE 2-279
              LAS VEGAS, NV 89117

              DAVID PIERCE
              509 Canyon Greens Drive
              LAS VEGAS, NV 89144

              DAVID SNELL DAVIS
              415 S. 6th Street, Suite 300
              LAS VEGAS, NV 89101

              Davila Tree Service & Landscaping
              1416 Tequesta Road
              LAS VEGAS, NV 89108

              DITECH FINANCIAL LLC
              PO BOX 6176
              RAPID CITY, SD 57709-6176

              Donald and Bonnie Lee
              5709 Ridgetree Avenue
              LAS VEGAS, NV 89107

              ELDORADO FIRST
              C/O TERRA WEST PROPERTY MANAGEMENT
              PO BOX 80900
              LAS VEGAS, NV 89180-0900

              Equity Title of Nevada
              Acct No xxxxxx xxxxxx/ xxxx xxx6092
              10777 W. Twain Avenue #110
              LAS VEGAS, NV 89135

              FANNIE MAE
              Acct No xxxxxx0925
              3900 WISCONSIN AVE NW
              WASHINGTON, DC 20016

              FANNIE MAE
              Acct No xxxxxx3144
              3900 WISCONSIN AVE NW
              WASHINGTON, DC 20016
Case 18-12734-mkn   Doc 1   Entered 05/10/18 14:04:13   Page 13 of 23




              FANNIE MAE
              Acct No xxxxxx1737
              3900 WISCONSIN AVE NW
              WASHINGTON, DC 20016

              FANNIE MAE
              Acct No xxxxxx7644
              3900 WISCONSIN AVE NW
              WASHINGTON, DC 20016

              FANNIE MAE
              Acct No xxxxxx1059
              3900 WISCONSIN AVE NW
              WASHINGTON, DC 20016

              FANNIE MAE
              Acct No xxxxxx0246
              3900 WISCONSIN AVE NW
              WASHINGTON, DC 20016

              FANNIE MAE
              Acct No xx7708
              3900 WISCONSIN AVE NW
              WASHINGTON, DC 20016

              FANNIE MAE
              Acct No xxxxxx2275
              3900 WISCONSIN AVE NW
              WASHINGTON, DC 20016

              FANNIE MAE
              Acct No xxxxxx0483
              3900 WISCONSIN AVE NW
              WASHINGTON, DC 20016

              FANNIE MAE
              Acct No xxxxxx2256
              3900 WISCONSIN AVE NW
              WASHINGTON, DC 20016

              FANNIE MAE
              Acct No xxxxxx8391
              3900 WISCONSIN AVE NW
              WASHINGTON, DC 20016

              FANNIE MAE
              Acct No xxxxxx3594
              3900 WISCONSIN AVE NW
              WASHINGTON, DC 20016

              FANNIE MAE
              Acct No xxxxxx8319
              3900 WISCONSIN AVE NW
              WASHINGTON, DC 20016
Case 18-12734-mkn   Doc 1   Entered 05/10/18 14:04:13   Page 14 of 23




              FANNIE MAE
              Acct No xx7690
              3900 WISCONSIN AVE NW
              WASHINGTON, DC 20016

              FANNIE MAE
              Acct No xxxxxx9857
              3900 WISCONSIN AVE NW
              WASHINGTON, DC 20016

              FIDELITY BANK
              Acct No xxxxxx0769
              100 E ENGLISH
              PO BOX 1007
              WICHITA, KS 67201

              FIFTH THIRD BANK
              Acct No xxxxxx6682
              MD 1 MOCFP
              5050 KINGSLEY DR
              CINCINNATI, OH 45263

              FREEDIE MAC
              Acct No xxxxxx1979
              8250 JONES BRANCH DR
              MC LEAN, VA 22102

              FREEDIE MAC
              Acct No xxxxxx1769
              8250 JONES BRANCH DR
              MC LEAN, VA 22102

              FREEDIE MAC
              Acct No xxxxxx2065
              8250 JONES BRANCH DR
              MC LEAN, VA 22102

              FREEDIE MAC
              Acct No xxxxxx4232
              8250 JONES BRANCH DR
              MC LEAN, VA 22102

              FREEDIE MAC
              Acct No xxxxxx6682
              8250 JONES BRANCH DR
              MC LEAN, VA 22102

              FREEDIE MAC
              Acct No xx8721
              8250 JONES BRANCH DR
              MC LEAN, VA 22102
Case 18-12734-mkn   Doc 1   Entered 05/10/18 14:04:13   Page 15 of 23




              GOVERNMENT NATIONAL MORTGAGE ASSOC
              Acct No xxxxxxx8517
              451 SEVENTH STREET, ROOM B-133
              WASHINGTON, DC 20410

              GOVERNMENT NATIONAL MORTGAGE ASSOC
              Acct No xxxxxx4241
              451 SEVENTH STREET, ROOM B-133
              WASHINGTON, DC 20410

              GREEN TREE SERVICING LLC - DITECH
              Acct No xxxxxx7644
              PO BOX 6176
              RAPID CITY, SD 57709-6176

              GREEN TREE SERVICING LLC - DITECH
              Acct No xxxx0620
              PO BOX 6176
              RAPID CITY, SD 57709-6176

              GREEN TREE SERVICING LLC - DITECH
              Acct No xxxx7943
              PO BOX 6176
              RAPID CITY, SD 57709-6176

              GREEN VALLEY RANCH HOA
              C/O TERRA WEST PROPERTY MGMT
              PO BOX 94617
              LAS VEGAS, NV 89193-4617

              IMAGE FINANCE, LLC
              Acct No xxxxx6328
              4751 WILSHIRE BOULEVARD STE 203
              LOS ANGELES, CA 90010

              Image Finance, LLC
              Acct No xxxxx6328
              4751 Wilshire Boulevard, Suite 203
              Los Angeles, CA 90010

              INTERNAL REVENUE SERVICE
              ATTN: CENTRALIZED INSOLVENCY OPERATION
              PO BOX 7346
              PHILADELPHIA, PA 19101-7346

              INTERNAL REVENUE SERVICES
              ATTN: BANKRUPTCY UNIT
              110 N CITY PKWY STE 100
              LAS VEGAS, NV 89106-6085

              Ivy Flores & Jason Scott
              1701 Emprie Mine Drive
              HENDERSON, NV 89014
Case 18-12734-mkn   Doc 1   Entered 05/10/18 14:04:13   Page 16 of 23




              James Craig
              9020 Feather River Court
              LAS VEGAS, NV 89117

              Janice Williams
              922 Saddle Horn Drive
              HENDERSON, NV 89002

              Jason Cowie
              1392 Echo Falls Avenue
              LAS VEGAS, NV 89123

              Javier Linares & Doris Cajas
              8216 Peaceful Canyon Drive
              LAS VEGAS, NV 89128

              JEFFREY SYLVESTER, ESQ.
              1731 VILLAGE CENTER CIRCLE
              LAS VEGAS, NV 89134

              Jesse Gaytan & Dulce Soliz
              6091 Pumpkin Patch Avenue
              LAS VEGAS, NV 89142

              JESSE SBAIH AND DEBORAH DRAKE
              170 S GREEN VALLEY PKWY #280
              HENDERSON, NV 89012

              John Letus
              5524 Rock Creek Lane
              LAS VEGAS, NV 89130

              Jonathan Hayes
              5609 Sand Ardo Place
              LAS VEGAS, NV 89130

              Karen Taylor & Aja Campbell
              3729 Discovery Creek
              NORTH LAS VEGAS, NV 89031

              Kelly Frey
              2861 Marathon Drive
              HENDERSON, NV 89074

              KUNIN & CARMAN
              3551 E BONANZA RD #110
              LAS VEGAS, NV 89110

              Kyle & Corinna Case
              4710 Brentley Place
              LAS VEGAS, NV 89122

              Laimonas Gubista & Siga Urdakyte
              276 Manzanita Ranch Lane
              HENDERSON, NV 89012
Case 18-12734-mkn   Doc 1   Entered 05/10/18 14:04:13   Page 17 of 23




              Leola Brinker
              9811 W. Charleston Blvd. Suite 2-351
              LAS VEGAS, NV 89117

              Linda Reina
              7873 Bridgefield Lane
              LAS VEGAS, NV 89147

              LITTON LOAN SERVICING
              4828 LOOP CENTRAL DRIVE
              HOUSTON, TX 77081

              LUCY INNUSO
              7413 LATTIMORE DR
              LAS VEGAS, NV 89110

              Maria Cabrera
              4521 W. La Madre Way
              NORTH LAS VEGAS, NV 89031

              Melani Schulte
              9811 W. Charleston Blvd. Suite 2-351
              LAS VEGAS, NV 89117

              Monica Montero & Brenda Torres Lopez
              9500 Aspen Glow Drive
              LAS VEGAS, NV 89134

              NATIONSTAR MORTGAGE
              Acct No xxxxxx0483
              CUSTOMER RELATIONS
              PO BOX 619098
              DALLAS, TX 75261-9741

              Nettie Johnston & Juris Ore
              2290 Surrey Meadows Avenue
              HENDERSON, NV 89052

              Nevada Title Company
              Acct No xxxxx6328
              2500 N. Buffalo Drive, suite 150
              Las Vegas, NV 89128

              OCWEN
              PO BOX 1330
              WATERLOO, IA 50704-1330

              Office of the U.S. Trustee
              Dept. of Justice
              300 Las Vegas Blvd., S, Suite 4300
              Las Vegas, NV 89101
Case 18-12734-mkn   Doc 1   Entered 05/10/18 14:04:13   Page 18 of 23




              PALM GARDENS
              C/O ASSOCIA NEVADA SOUTH
              PO BOX 60998
              PHOENIX, AZ 85082-0998

              PEBBLE CREEK HOA
              C/O COLONIAL PROPERTY MANAGEMENT
              PO BOX 63275
              850823275

              Quality Loan Servicing Corporation
              Acct No NV-17-772696-AB/ 06-25430486
              411 Ivy Street
              San Diego, CA 92101

              RANCHO ALTA MIRA
              C/O TERRA WEST PROP MGMT
              PO BOX 80900
              LAS VEGAS, NV 89180-0900

              RANCHO LAS BRISAS HOA
              9440 W SAHARA AVE, STE 237
              LAS VEGAS, NV 89117

              RIDGEMONT TOWNHOMES ASSOCIATION
              5601 RIDGETREE AVE
              LAS VEGAS, NV 89107

              Robert & Rosanna Lopez
              1528 Splinter Rock Way
              NORTH LAS VEGAS, NV 89031

              Robin & Tyrel James
              3383 Cloverdale Court
              LAS VEGAS, NV 89117

              Rodney & Gina Brown
              1194 Stormy Valley Road
              LAS VEGAS, NV 89123

              Rodney Ashton
              2144 Hillsgate Street
              LAS VEGAS, NV 89134

              Roni & Miri David
              10317 Neopolitan Place
              LAS VEGAS, NV 89144

              RUSHMORE LOAN MANAGEMENT SERVICES
              Acct No xxxxxx0925
              PO BOX 52262
              IRVINE, CA 92619-2263
Case 18-12734-mkn   Doc 1   Entered 05/10/18 14:04:13   Page 19 of 23




              RUSHMORE LOAN MANAGEMENT SERVICES
              Acct No xxxxxx2275
              PO BOX 52262
              IRVINE, CA 92619-2263

              SABRECO INC
              9811 W. Charleston Suite 2-351
              LAS VEGAS, NV 89117

              SAGECREEK HOA
              C/O CAMCO
              PO BOX 12117
              LAS VEGAS, NV 89112

              SAN MARINO
              C/O FIRST SERVICE RESIDENTIAL
              PO BOX 54089
              LOS ANGELES, CA 90054-0089

              Sanctuary Condos, LLC
              c/o Gary R. Horns
              3233 W. Charleston Blvd. #101
              LAS VEGAS, NV 89102

              Sanctuary Homes, LLC
              c/o Gary R. Horns
              3233 W. Charleston Blvd. #101
              LAS VEGAS, NV 89102

              SELENE FINANCE LP
              Acct No xxxxxx1737
              9990 RICHMOND AVE STE 400
              HOUSTON, TX 77042

              SELENE FINANCE LP
              Acct No xxxxxx1059
              9990 RICHMOND AVE STE 400
              HOUSTON, TX 77042

              SELENE FINANCE LP
              Acct No xx7708
              9990 RICHMOND AVE STE 400
              HOUSTON, TX 77042

              SELENE FINANCE LP
              Acct No xx8721
              9990 RICHMOND AVE STE 400
              HOUSTON, TX 77042

              SELENE FINANCE LP
              Acct No xx7690
              9990 RICHMOND AVE STE 400
              HOUSTON, TX 77042
Case 18-12734-mkn   Doc 1   Entered 05/10/18 14:04:13   Page 20 of 23




              SETERUS, INC.
              Acct No xxxxxx3144
              PO BOX 1077
              HARTFORD, CT 06143

              SETERUS, INC.
              Acct No xxxxxx0246
              PO BOX 1077
              HARTFORD, CT 06143

              SETERUS, INC.
              Acct No xxxxxx8319
              PO BOX 1077
              HARTFORD, CT 06143

              SETERUS, INC.
              Acct No xxxxxx9857
              PO BOX 1077
              HARTFORD, CT 06143

              Shauna Brogan
              1624 Desert Canyon Ct
              LAS VEGAS, NV 89128

              SHELLPOINT MORTGAGE SERVICING LLC
              Acct No xxxxxx6861
              PO BOX 10826
              GREENVILLE, SC 29603-0826

              SHELLPOINT MORTGAGE SERVICING LLC
              Acct No xxxxxx4232
              PO BOX 10826
              GREENVILLE, SC 29603-0826

              SHELLPOINT MORTGAGE SERVICING LLC
              Acct No xxxxxx6860
              PO BOX 10826
              GREENVILLE, SC 29603-0826

              SHELLPOINT MORTGAGE SERVICING LLC
              Acct No xxxxxx2256
              PO BOX 10826
              GREENVILLE, SC 29603-0826

              SHELLPOINT MORTGAGE SERVICING LLC
              Acct No xxxxxx5845
              PO BOX 10826
              GREENVILLE, SC 29603-0826

              SHELLPOINT MORTGAGE SERVICING LLC
              Acct No xxxxxx3594
              PO BOX 10826
              GREENVILLE, SC 29603-0826
Case 18-12734-mkn   Doc 1   Entered 05/10/18 14:04:13   Page 21 of 23




              SILVERADO RANCH II, LMC
              PO BOX 93625
              LAS VEGAS, NV 89193-3625

              SILVERADO RANCH LMA
              C/O FIRST SERVICE RESIDENTIAL
              PO BOX 54089
              LOS ANGELES, CA 90054-0890

              SNELL & WILMER LLP
              Acct No Shulte/Image Finance
              3883 HOWARD HUGHES PKWY, STE 1100
              LAS VEGAS, NV 89169

              SNELL & WILMER LLP
              Acct No Schulte/Image Finance
              3883 HOWARD HUGHES PKWY, STE 1100
              LAS VEGAS, NV 89169

              STATE OF NEVADA - HR
              100 N STEWART ST STE 110
              CARSON CITY, NV 89701-4211

              STATE OF NV DEPT OF MOTOR VEHICLES
              BANKRUPTCY SECTION
              555 WRIGHT WAY
              CARSON CITY, NV 89701-5229

              STATE OF NV EMPLOYMENT SECURITY
              2800 E SAINT LOUIS AVE
              LAS VEGAS, NV 89104-4267

              Steven McCoy
              8562 Lambert Drive
              LAS VEGAS, NV 89147

              SUMMERLIN NORTH COMMUNITY ASSOC
              PO BOX 54138
              LOS ANGELES, CA 90054-0138

              U.S. TRUSTEE - LV - 11
              300 LAS VEGAS BOULEVARD S.
              SUITE 4300
              LAS VEGAS, NV 89101-5803

              Varry Heramis, Amamlia Kutlu, & S. Kutlu
              1013 Golden Hawk Way
              LAS VEGAS, NV 89108

              WELLS FARGO
              Acct No xxxxxxxxxxxxx1998
              PO BOX 1323
              PORTLAND, OR 97208-4233
Case 18-12734-mkn   Doc 1   Entered 05/10/18 14:04:13   Page 22 of 23




              WELLS FARGO
              Acct No xxxxxxxxxxxxx1998
              PO BOX 1323
              PORTLAND, OR 97208-4233

              WELLS FARGO
              Acct No xxxxxxxxxxxxx1998
              PO BOX 1323
              PORTLAND, OR 97208-4233

              WELLS FARGO HOME MORTGAGE
              Acct No xxxxxx0145
              PO BOX 10335
              DES MOINES, IA 50306-0335

              WELLS FARGO HOME MORTGAGE
              Acct No xxxxxx4241
              PO BOX 10335
              DES MOINES, IA 50306-0335

              WEST SAHARA COMMUNITY
              C/O FIRST SERVICE RESIDENTIAL
              PO BOX 54089
              LOS ANGELES, CA 90054-0089

              William Hallman
              3322 Cheltenham Street
              LAS VEGAS, NV 89129

              William R. Schulte
              8252 Neice Court
              LAS VEGAS, NV 89129

              Z'REA LIMITED PARTNERSHIP
              7201 W LAKE MEAD BLVD #550
              LAS VEGAS, NV 89128
                        Case 18-12734-mkn                            Doc 1    Entered 05/10/18 14:04:13        Page 23 of 23




                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re      SCHULTE PROPERTIES LLC                                                                         Case No.
                                                                                    Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for SCHULTE PROPERTIES LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 May 10, 2018                                                          /s/ Matthew L. Johnson
 Date                                                                  Matthew L. Johnson 6004
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for SCHULTE PROPERTIES LLC
                                                                       JOHNSON & GUBLER, P.C.
                                                                       LAKES BUSINESS PARK
                                                                       8831 W SAHARA AVE
                                                                       LAS VEGAS, NV 89117-5865
                                                                       (702) 471-0065 Fax:(702) 471-0075
                                                                       mjohnson@mjohnsonlaw.com




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
